Case 2:13-cr-00008-WFN   ECF No. 3335   filed 01/15/15   PageID.21111 Page 1 of 6
Case 2:13-cr-00008-WFN   ECF No. 3335   filed 01/15/15   PageID.21112 Page 2 of 6
Case 2:13-cr-00008-WFN   ECF No. 3335   filed 01/15/15   PageID.21113 Page 3 of 6
Case 2:13-cr-00008-WFN   ECF No. 3335   filed 01/15/15   PageID.21114 Page 4 of 6
Case 2:13-cr-00008-WFN   ECF No. 3335   filed 01/15/15   PageID.21115 Page 5 of 6
Case 2:13-cr-00008-WFN   ECF No. 3335   filed 01/15/15   PageID.21116 Page 6 of 6
